     Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 1 of 19




               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

DOUBLEDAY ACQUISITIONS LLC d/b/a )
CSAFE GLOBAL,                    )
                                 )
              Plaintiff,         )
                                 )
              v.                 )          Case 1:21-cv-03749-SCJ
                                 )
ENVIROTAINER AB, and             )
ENVIROTAINER INC.                )
                                 )
              Defendants.        )

        ENVIROTAINER’S RESPONSE IN OPPOSITION TO
              CSAFE’S MOTION TO DISREGARD
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 2 of 19




                                 INTRODUCTION
      CSafe’s Motion to Disregard prioritizes overzealous advocacy and insult at

the expense of professionalism and truth, which distills to one root point: CSafe is
terrified for this Court to actually decide its preliminary injunction motion on the
merits, and will come up with anything it can to avoid a merits-based ruling that

would underscore the baseless nature of that motion and damage its credibility.
      Make no mistake about it, CSafe’s brief is based entirely on something it
fabricated—what it calls an “Adjusted Brief.” But the “Adjusted Brief” is just

that—adjusted—and is not the brief Envirotainer submitted. The question is not
whether CSafe can manipulate Envirotainer’s brief to make it longer than it
actually was, but instead whether Envirotainer complied with the Local Rules.

      It did. At bottom, CSafe’s motion suffers from the same “ready, fire, aim”
approach as CSafe’s preliminary injunction motion. Specifically, CSafe falsely
accuses Envirotainer of (i) using something other than 14 point font;

(ii) condensing its font and character spacing; and (iii) spacing its brief with “1.74
spacing,” not double spacing. Each of those points is addressed fully below.
      More important, CSafe’s frivolous motion needlessly wastes judicial (and

party) resources that could be better spent elsewhere. CSafe has demonstrated a
habit of unwisely rushing to the Court to seek unjust and extreme relief it does not
deserve, rather than first try to learn the truth before it acts. CSafe’s motion should

not have been filed in the first place, so it certainly should be denied now.



                                           1
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 3 of 19




                                    ARGUMENT
      I.     Envirotainer Used Fourteen Point Font
      Contrary to CSafe’s insinuation otherwise, every character in Envirotainer’s
opposition is 14-point font (see Howell Dec. at ¶ 6). That should have been clear
from the Local Rule 7.1(D) Certification, where one of Envirotainer’s “Officers of

the Court” attested to that fact. On receipt of CSafe’s motion, Envirotainer again
confirmed this fact (Howell Dec. at ¶¶ 7-8). As shown in the excerpts below,
Envirotainer used Times New Roman 14-point font, and only Times New Roman

14-point font (id.). CSafe’s argument otherwise is frivolous, as is its incorrect
assertion that Envirotainer’s counsel lied to the Court in their Certification of
Compliance (Br. at 1-2, 4). There is no evidentiary support for this portion of

CSafe’s motion, and therefore it should promptly be withdrawn by CSafe before
CSafe’s reply, and before the Court rules on it. See Fed. R. Civ. P. 11(b)(3), (c)(1).

Fig. 1: Envirotainer’s 14-point Introduction




                                           2
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 4 of 19




Fig. 2: Envirotainer’s 14-point Procedural Background




Fig. 3: Envirotainer’s 14-point Argument




      II.    Envirotainer Used Normal Characters and Text Spacing
      Envirotainer did not “artificially condense the spacing within lines of text,”
as CSafe also falsely accuses (Br. at 3). As shown below, the font scale, spacing,

position are all “100%” and “normal” (Howell Dec. at ¶¶ 10-12).

Fig. 4: Envirotainer used full scale font and normal spacing.




                                         3
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 5 of 19




      Once more, CSafe’s argument to this Court is frivolous because it lacks any
evidentiary support. Thus, its argument about character scale and spacing should

be promptly withdrawn before CSafe’s reply and before the Court’s order to avoid
further waste of judicial and party resources. See Fed. R. Civ. P. 11(b)(3), (c)(1).
      III.   Envirotainer Used Double Spacing
      Envirotainer used precise 28 point double-spacing throughout its brief,
except for footnotes, headings, and block quotes. CSafe, however, argues that
Envirotainer used “approximately 1.74-spacing” (Br. at 1).

      Again, not so. For a 14-point font, like the one Envirotainer used, one space
is 14 points, and double spacing is therefore 28 points.1 See, e.g., Sameer v. Khera,
No. 1:17-cv-01748, 2018 U.S. Dist. LEXIS 120110, at *4 (E.D. Cal. July 17, 2018)

(“the line spacing of such documents . . . must be double-spaced meaning, at
minimum, 24-point line spacing” for 12 point font) (emphasis in original).
      Thus, for a 14 point font, that “1.74-spacing” would equate to 24.36 point

spacing (14 point font x 1.74 spaces = 24.36 point spacing). That is simply not
what Envirotainer used—as shown below, it used exact 28 point spacing which, by
definition, is double spaced (14 point font x 2 spaces = 28 point spacing) (Howell

Dec. at ¶¶ 11-14).




1
 “Points” for fonts and spacing are just a measurement of length, with seventy-two
points equal to one inch.

                                          4
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 6 of 19




Figure 5: Envirotainer’s Exact 28-Point Spacing




      Indeed, Plaintiffs’ counsel—Fenwick & West—follows this very “exact
spacing” typography: it argued to the Eastern District of Virginia, concerning a 12

point font, that “in the federal courts where Cox’s lead counsel (Fenwick & West)
typically practice, the local rules equate Exactly 24-point spacing and double-
spaced, and so it is Fenwick’s standard practice to draft briefs with Exactly 24-

point spacing.”2 (Dkt. 63-1 at 1 (emphasis added); see also id. at 2 (“Thus, many
federal courts—including those where Fenwick’s lawyers most frequently
appear—equate ‘double-spacing’ with Exactly 24-point spacing . . . .”)).

      Envirotainer submits that CSafe’s counsel’s “standard practice” for double
spacing is the correct understanding of double spacing, and is also the same one
that Envirotainer used in its brief. There was nothing nefarious about using it,



2
 See BMG Rights Mgmt. (US) LLC et al. v. Cox Enterprises, Inc. et al., No. 1:14-
cv-01611, at Dkt. 333 (filed September 24, 2015).

                                          5
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 7 of 19




contrary to CSafe’s attempt to put Envirotainer’s counsel on trial (Howell Dec. at
¶¶ 15-28). To the contrary, it is the only way to ensure exact double spacing.

      This is not just CSafe’s and Envirotainer’s counsel’s understanding, either.
As one leading lawyer typography treatise3 provides:
      Most courts adopted their line-spacing standards in the typewriter era.
      That’s why court rules usually call for double-spaced lines. On a
      typewriter, each line is the height of the font, thus double spacing
      means twice the font size. So if you’re required to use a 12-point
      font, double line spacing means 24 points.
(Ex. 1 at 2 (emphasis added).)

      That treatise author, Mr. Butterick, also provided the following guidance on
double spacing according to the rules of the Court of Appeals of Georgia and the
Supreme Court of Georgia, which was published in the Winter 2013 State Bar of

Georgia Newsletter for the Appellate Practice Section:

      Double spacing means line spacing that’s twice as large as the point
      size. Single spacing means line spacing that’s the same as the point
      size. Beware of your word processor’s pre-fabricated “Double” and
      “Single” line-spacing options, which typically add extra space. For
      instance, at a 14-point font size, Microsoft Word’s “Double” line
      spacing is about 33 points, when it should be 28 points.

3
  The Butterick treatise has been cited approvingly by numerous district courts,
including at least one in the Eleventh Circuit. E.g., Khan v. BankUnited, Inc., No.
8:15-cv-2632, 2017 U.S. Dist. LEXIS 222627, at *2 (M.D. Fla. Jan. 11, 2017);
Williams v. Bank of Am., N.A., No. 15-cv-1597, 2016 U.S. Dist. LEXIS 187624, at
*17 (C.D. Cal. Sept. 26, 2016); Highland Holdings, Inc. v. Mid-Continent Cas.
Co., No. 8:14-cv-1334, 2016 U.S. Dist. LEXIS 81851, at *2 n.1 (M.D. Fla. June
23, 2016); Roberts v. Blue World Pools, Inc., No. 3:15-cv-00335, 2015 U.S. Dist.
LEXIS 121213, at *7 (W.D. Ky. Sept. 11, 2015).

                                         6
        Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 8 of 19




(Ex. 2 at 2 (emphasis added).)
      Fenwick cited a different typography reference in its Virginia brief, but it
stands for the same proposition that double spacing means double the font size:

      USE TRUE DOUBLE SPACING FOR BETTER BRIEFS

                                   *      *     *

      Most courts require us to double space our briefs. CR 76.12(4)(a)(ii)
      requires us to use “black type no smaller than 12 point” and typing
      that is “double spaced and clearly readable.” The court’s requirement
      to double space your briefs does not mean, however, that you just go
      into Microsoft Word and pound the “double space” button. True
      double spacing for a 12-point font means setting your line spacing
      at “Exactly” 24 points.
(Ex. 4 at 7-8 (emphasis added).) Clearly the notion that Envirotainer used “1.74

spacing” in contravention of the Local Rules is false.
      Once Envirotainer put CSafe on notice that it did not use 1.74 spacing,
CSafe recognized its error and changed positions. It now argues—contrary to

Fenwick’s “standard practice”—that only Microsoft’s default spacing meets the
Local Rules (since that is presumably what CSafe used for the “adjusted” brief)
(see Dkt. 62 at 2).

      If so, that would go directly against what Fenwick told the Virginia Court:
“[t]hat [Microsoft] default-setting actually results in 15% more space between lines
than is required to double-space 12-point type” (Dkt. 63-1 at 3; see also Ex. 1 at 2

(“Curiously, the so-called ‘double’ line-spacing option in your word processor
doesn’t produce true double line spacing. Microsoft Word’s ‘double’ spacing, for


                                          7
         Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 9 of 19




instance, is about 15% looser, and it varies depending on the font. To get accurate
spacing, you should always set it yourself, exactly.”); Ex. 4 at 7 (“Using Microsoft

Word’s default “double space” will give you line spacing greater than 24 points–
about 15% greater, in fact”)).
       Indeed, Microsoft itself has acknowledged its default spacing is not actually

double spacing. When Microsoft changed Word’s default spacing in 2006, it noted
that “[w]e also added a bit of space between each line within the paragraph.
Though some folks have described this as ‘double-spaced,’ it is actually 115% of

the line height . . . . ” (Ex. 3).
       As Fenwick then-argued to the Virginia Court, “this Court’s local rules
should not be interpreted as strictly as Plaintiffs now contend.” Id.4 The same is

true here. Tying “double spacing” to equal only Microsoft Word’s default spacing,
as opposed to what double spacing actually is, permits a private third party—one
which often is a litigant before this very Court—sole control over the Court’s

requirements. It also would effectively require litigants to purchase a license to
Microsoft Word, since other word processing spacing may be different than the
default spacing provided by Microsoft.



4
  The Virginia Court ultimately ruled that defendant Cox’s position was “justified,”
but nevertheless asked it to submit a new summary judgment brief that was
roughly the same length as the plaintiff’s own summary judgment brief to cure any
possible prejudice. Here, any alleged prejudice could be cured by permitting CSafe
to use “exact 28-point” spacing in its reply brief, as is Fenwick’s standard practice.

                                          8
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 10 of 19




      That raises a different problem as well: defining double spacing by a
Microsoft default setting (as opposed to an objective measurement) injects

inconsistency into what should be easy math (i.e., double spacing means exactly
double the font size: 28 points for 14 point font). As shown above and in the cited
references, Microsoft’s default spacing has changed over time, changes based on

the font that is used, and even if it was constant the Court should not treat
differently line spacing in briefs that (i) were typed on a typewriter (where double
spacing is necessarily double the font size); (ii) use Microsoft Word; or (iii) use

other word processing software.
      This issue was resolved recently by the United States District of Kansas, and
Envirotainer respectfully submits the Court should follow that court’s approach.

There, the plaintiff had argued that defendants’ summary judgment and Daubert
briefs violated double-spacing rules: namely, because defendants had used “exactly
24” line spacing. In re Epipen Epinephrine Injection, 2020 U.S. Dist. LEXIS

133290, at *35-*36 (D. Kan. July 28, 2020).
      The Kansas Court noted submissions—similar to what Fenwick did in the
BMG case—of a typography treatise, case law, and other evidence about how

Microsoft Word had changed its line spacing over time. Id. That court elected not
to decide the issue, but instead “opt[ed] for a practical solution: [t]o the extent
defendants’ use of the ‘Exactly 24’ line spacing gave them more room to make




                                           9
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 11 of 19




their arguments while still complying with the court’s page limitations, plaintiffs
may avail themselves of the same benefit.” Id. at *36.

      The Kansas Court “refuse[d] to strike defendants’ briefs, or order defendants
to refile their briefs.” Id. Rather, the Kansas Court stated that the attempt to strike a
brief based on a double-spacing dispute “dishonors Rule 1’s admonition that

parties should employ the Federal Rules of Civil Procedure to ‘secure the just,
speedy, and inexpensive determination of every action and proceeding.” Id.
      The Kansas Court’s citation to Rule 1 is well taken: the parties should not be

squabbling over font size, font spacing, and line spacing, and certainly not in
motions to the Court. Regrettably, CSafe did not raise any of these specific issues
with Envirotainer before CSafe filed its brief (instead, alleged noncompliance was

only generally alluded to on a 4:30 pm meet and confer about CSafe’s refusal to
provide noticed depositions, which took place shortly before CSafe’s 5:52 pm
filing). Had it done so, Envirotainer would have clarified to CSafe which “facts” it

got wrong, and endeavored to reach an agreement between the parties that could
have avoided burdening the Court with frivolous and needless motion practice.
      IV.    CSafe’s Proposed Remedies Are Draconian and Inequitable
      The remedies CSafe seeks are severe, and certainly not warranted in view of
numerous incorrect assertions on which its brief is based. Despite CSafe’s at-times
personal attacks, at no point did Envirotainer seek to evade the Court’s page

limitations—rather, it simply used spacing that it believes is correct, and which
CSafe’s counsel has represented to a sister court is their “standard practice.”

                                           10
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 12 of 19




      Further, even if this Court determines that only Microsoft’s default spacing
(and not exact double spacing) complies with the Local Rules, the best course is to

provide clarity for the parties in the future, and not to limit its consideration of the
merits of CSafe’s requested injunction. Any alleged prejudice has been completely
resolved by the Court’s Extension Order, which provided CSafe with an additional

seven pages and seven days to respond to Envirotainer’s opposition (Dkt. 64).
      That course is more appropriate than CSafe’s extreme first position: that the
Court disregard Envirotainer’s brief entirely, in apparent hopes the Court will

award it an effective default injunction.
      It is also more appropriate than CSafe’s alternative remedy: to both
(i) rescind the Order that found 35 pages were justified in view of the significant

number of issues raise by CSafe’s preliminary injunction request and (ii) grant
CSafe an excessive (and currently indeterminate) 21-day extension from the
Court’s future Order on CSafe’s motion—an extension that would prejudice

Envirotainer’s ability to prepare and address CSafe’s Reply at the May 13 hearing.
For example, yesterday the Court ordered that CSafe is permitted to file its
preliminary injunction reply by April 29. But if the Court next week grants CSafe’s

alternative 21-day extension, that reply would not be due until the week of the May
13 hearing, and possibly only a day or two before.
      Again, Fenwick in the prior BMG case was prescient: “The relief that

Plaintiffs seek is inappropriate. Plaintiffs have not cited a single case where a court



                                            11
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 13 of 19




struck summary judgment or Daubert briefs in similar circumstances” (Dkt. 63-1
at 7). So too here. Envirotainer is not aware of any case from this Court where a

brief was stricken for exact 28-point double spacing, nor does CSafe cite any.
      Indeed, that is because the Eleventh Circuit has a “strong preference that
cases be decided on the merits, not by default.” See Sundy v. Friendship Pavilion

Acquisition Co., 2019 U.S. Dist. LEXIS 232479 (Jones, J.); see also Krush
Communications, LLC v. Lunex Telecom., Inc., 2014 U.S. Dist. LEXIS 189254
(N.D. Ga. Sep. 12, 2014) (Jones, J.) (“Federal courts typically view motions to

strike with disfavor, and a motion to strike is not the proper vehicle for resolving
disputed issues of fact, or for deciding ‘substantial questions of law.’”).
      This is simply not the case CSafe makes it out to be: there was no “brazen”

attempt to get around a Court Order or an otherwise “flagrant violation.”
Envirotainer did not “masquerade[e]” its brief as anything it was not or “glaringly
flout” the Court’s Docket Order—it did not use a “slightly less” than 14 point font

or 1.74 spacing, or “artificially condense[] spacing within lines of text.”
      The cases CSafe cites are not close to this one. Aldridge did not concern any
of the issues here: instead the Court held a party could not incorporate by reference

the “Statement of the Facts” and “Argument and Citation of Authority” sections
from a prior brief into its current brief. See Aldridge v. Travelers Home & Marine
Ins. Co., No. 16-cv-1247, 2019 U.S. Dist. LEXIS 230313, at *1-*4 (N.D. Ga. Feb.

21, 2019). It did not address whether exactly 28-point double spacing is considered



                                          12
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 14 of 19




double spacing under the Local Rules. Nor did the Court even exclude the
challenged brief; instead it held it would not consider either improperly

incorporated materials or two facts from a summary judgment brief that were not
also included in the underlying Statement of Material Facts. Id. at *4.
      Smith-Jackson is also inapposite. There, the defendant’s “egregious”

conduct included filing thirty-eight page objections to a Magistrate’s R&R that
(i) were late; (ii) were thirteen pages over the limit (where defendant did not seek
leave to extend the page limit until the day of the filing, well short of the ten day

advance requirement of the applicable Standing Order); (iii) used inconsistent font
size and type throughout; (iv) had left margins less than one inch; (v) were not
double-spaced;5 and (vi) included new evidence and argument not before the

Magistrate Judge. Smith-Jackson v. Chao, 2017 U.S. Dist. LEXIS 132139, at *10-
*13 (N.D. Ga. Aug. 18, 2017). Here, however, Envirotainer’s brief (i) was timely;
(ii) was extended in advance by the Court; (iii) used only 14-point Times New

Roman throughout; (iv) had left margins of one inch and top margins of one-and-
one-half inches; and (v) was double-spaced (Howell Dec. at ¶ 29).
      CSafe especially stretches to analogize Smith-Jackson to this case. It argues

that both that case and this one involve “two bites at the proverbial apple,” but that
assertion is illogical. In Smith-Jackson the defendant filed two briefs: Objections

5
 For example, some pages of that non-compliant brief had up to 26 lines of text
per page (see No. 1:15-cv-1688, Dkt. 89 at 26, 28), whereas Envirotainer’s double-
spaced brief at most had 22 lines of text on a page (see, e.g., Dkt. 55-2 at 31).

                                          13
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 15 of 19




and Corrected Objections, with the latter submitted to, inter alia, fix
nonconformance with Local Rule 7.1(D). Id. at *8-*9. The “second bite” was the

Corrected Objections, which were still non-compliant. Id. at *9-*13.
      Here, there were not two briefs:6 the only brief subject to CSafe’s motion is
Envirotainer’s preliminary injunction opposition. CSafe mentions “both” of

Envirotainer’s filings, but CSafe does not say what the second one is. Thus, even if
the use of exact 28 point double spacing does not comply with the Local Rules,
these are not “serial and conspicuous violations” as CSafe exaggerates. There is

certainly not an “unlevel playing field” that is “substantially tilted” to CSafe’s
disadvantage, particularly in view of its additional seven pages and days to reply.
      Nor is CSafe’s alternative relief warranted. Even assuming CSafe is right on

line spacing (and that the rules require Microsoft’s default 33 point spacing instead
of exact 28 point spacing for a 14 point font), punishing Envirotainer by forcing it
to delete an additional ten pages of its brief is not reasonable—especially since the

Court already determined that 35 pages were appropriate given the number and
importance of issues posed by CSafe’s requested injunctive relief. As noted above,
nor should the Court entertain CSafe’s attempt to again extend its reply brief




6
  While Envirotainer did submit a substitute version of its public brief on April 5,
that was to redact three words that CSafe asserted were confidential, not to change
Envirotainer’s under-seal brief, and not to address CSafe’s then-unraised
arguments in its subsequent April 8 motion to exclude.

                                          14
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 16 of 19




deadline (this time by 21 days from any order on this issue, an extension that may
have been the real reason behind CSafe’s motion (see Dkt. 63)).

      To the extent there actually is any potential prejudice by Envirotainer’s use
of exact 28-point double spacing that is not resolved by the Court’s Order from
yesterday (Dkt. 64), it could easily be cured by CSafe’s use of the same double

spacing in its reply—after all, it is Fenwick’s “standard practice” to use that double
spacing—instead of resort to Microsoft’s default spacing.
      V.     CSafe Has Violated The Local Rules
      Even if the use of exactly 28-point double spacing is viewed by the Court as
noncompliant, CSafe’s motion to disregard should not be granted because its
preliminary injunction motion violates the Local Rules of this Court.7 Local Rule

7.1(A)(2) required CSafe to file its preliminary injunction motion within thirty
days after the beginning of discovery, unless it obtained prior permission of the
Court to file later. It did not comply with that rule—having delayed that motion

until two months after discovery started, and having filed it without seeking leave



7
  Throughout this case CSafe has demonstrated loose adherence to the local rules.
Just as a few examples: CSafe (i) claimed an earlier patent priority date in its
preliminary injunction request that contradicts its Local Patent Rule 4.1(b)(5)
contentions; (ii) without leave of Court filed a “supplemental brief in opposition”
to Envirotainer’s motion to stay (after CSafe’s full-length, twenty-five page
opposition) (Dkt. 37); (iii) did not serve Envirotainer with unredacted versions of
its preliminary injunction filing until several days after that filing; and (iv) objected
to Envirotainer’s page extension request as “untimely,” even though it was made
five days in advance of the local rule deadline (Dkt. 12 at 5).

                                           15
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 17 of 19




(see, e.g., Dkt. 22 at 6 (“All other motions must be filed WITHIN THIRTY
DAYS”); Dkt. 22-1 at 2)).

      CSafe has tried to justify that failure by citing the Court’s Instructions
(Dkt. 12), but those Instructions provide only that a preliminary injunction request
must be made by a separate motion, accompanied by a proposed order, and will not

be considered if it is found only in a complaint (id. at 5). If anything, that should
have put CSafe on notice that its September 2021 Complaint was insufficient for a
preliminary injunction request (see Dkt. 1 at ¶ 101 & p. 32 (Demand F.)), and that

it should not have waited six months after that to seek injunctive relief.
      Accordingly, to the extent the Court wishes to strictly enforce the Local
Rules, as CSafe contends it should (see Br. at 5-6), Envirotainer respectfully

submits that its first course of action should be to deny CSafe’s preliminary
injunction motion outright for noncompliance with both Local Rule 7.1(A)(2) and
the Court’s Preliminary Report and Discovery Plan entered in this case (Dkt. 22 at

6-7). Such a ruling would make CSafe’s motion to disregard moot, since no
preliminary injunction would be pending.

                                   CONCLUSION
      For these reasons set forth above, Envirotainer respectfully requests the
Court deny CSafe’s Motion to Disregard.




                                          16
      Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 18 of 19




Dated: April 14, 2022                Respectfully submitted,
                                     /s/ Wesley C. Achey
                                     Wesley C. Achey
                                     Georgia Bar No. 141284
                                     Matthew W. Howell
                                     Georgia Bar No. 607080
                                     Siraj M. Abhyankar
                                     Georgia Bar No. 484680
                                     Thomas F. Finch
                                     Georgia Bar No. 637008
                                     ALSTON & BIRD LLP
                                     One Atlantic Center
                                     1201 W. Peachtree St., Suite 4900
                                     Atlanta, GA 30309-3424
                                     Phone: 404.881.7000
                                     Fax:     404.881.7777
                                     wes.achey@alston.com
                                     matthew.howell@alston.com
                                     shri.abhyankar@alston.com
                                     thomas.finch@alston.com


                                     Andrew J. Ligotti (pro hac vice)
                                     ALSTON & BIRD LLP
                                     90 Park Avenue, 15th Floor
                                     New York, NY 10016
                                     Phone: 212.210.9400
                                     Fax: 212.210.9444
                                     andy.ligotti@alston.com

                                     Attorneys for Defendant
                                     Envirotainer AB, and Envirotainer Inc.




                                    17
       Case 1:21-cv-03749-SCJ Document 65 Filed 04/14/22 Page 19 of 19




                           LOCAL RULE 7.1(D)
                   CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.



Dated: April 14, 2022                 /s/ Wesley C. Achey
                                      Wesley C. Achey
                                      Georgia Bar No. 141284
                                      ALSTON & BIRD LLP




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the foregoing document with the

Clerk of Court using the CM/ECF filing system, which will automatically send e-

mail notification of such filing to all counsel of record.



Dated: April 14, 2022                 /s/ Wesley C. Achey
                                      Wesley C. Achey
                                      Georgia Bar No. 141284
                                      ALSTON & BIRD LLP
